Case 3:19-bk-30822       Doc 160     Filed 01/22/20 Entered 01/22/20 15:23:15            Desc Main
                                    Document      Page 1 of 2



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

   IN RE:                                     )
                                              )          Case No. 3:19-bk-30822
   TAGNETICS INC.,                            )
                                              )          Chapter 7 (Involuntary)
                       Alleged Debtor.        )
                                              )          JUDGE GUY R. HUMPHREY


                             NOTICE OF MOTION/OBJECTION

 McCarthy, Lebit, Crystal & Liffman Co., LPA and Robert R. Kracht, Esq. have filed papers with
 the Court for permission to withdraw as counsel for Alleged Debtor Tagnetics, Inc. (hereinafter
 the “Motion”).

 Your rights may be affected. You should read these papers carefully and discuss them with your
 attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to
 consult one.

 If you do not want the Court to grant the relief sought in the Motion, then on or before twenty-one
 (21) days from the date set forth in the certificate of service for the Motion, you must file with
 the Court a response explaining your position by mailing your response by ordinary U.S. Mail to
 U.S. Bankruptcy Court, Southern District of Ohio, Dayton Divisional Office, 120 West Third
 Street, Dayton, Ohio 45402 OR your attorney must file a response using the Court’s ECF System.

 The Court must receive your response on or before the above date.

 You must also send a copy of your response either by 1) the Court’s ECF System or 2) ordinary
 U.S. Mail and/or email to Robert R. Kracht, Esq., McCarthy, Lebit, Crystal & Liffman, Co.,
 L.P.A., 101 West Prospect Ave., Suite 1800, Cleveland, OH 44115 (rrk@mccarthylebit.com);
 Stephen Stern, Esq., Kagen, Stern, Marinells & Beard, LLC, 238 West Street, Annapolis,
 Maryland 21401 (Stern@kaganstern.com); Douglas S. Draper, Esq. and Leslie Collins, Esq.,
 Heller, Draper, Patrick, Horn, 650 Poydras Street, Suite 2500, New Orleans, LA 70130
 (ddraper@hellerdraper.com) (lcollins@hellerdraper.com); Tagnetics, Inc., 3415 Route 36, Piqua,
 OH 45356; Kenneth W. Kayser, PO Box 115, Catawba, VA 24070; Ronald E. Early, 6429
 Winding Tree Drive, New Carlisle, OH 45344; Jonathan Hager, 2170 River Oaks Drive, Salem,
 VA 24153; and Jeremy Shane Flannery, U.S. Trustee Office, 170 North High Street, Suite 200,
 Columbus, OH 43215.




 {01404417-2}
Case 3:19-bk-30822        Doc 160     Filed 01/22/20 Entered 01/22/20 15:23:15               Desc Main
                                     Document      Page 2 of 2



 If you or your attorney do not take these steps, the Court may decide that you do not oppose the
 relief sought in the Motion and may enter an order granting that relief without further hearing or
 notice.

 Dated: January 22, 2020                                        /s/ Robert R. Kracht
                                                                Robert R. Kracht (#0025574)


                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 22, 2020, a copy of the foregoing was served (i)
 electronically on the date of filing through the Court’s ECF System on all ECF participants
 registered in this case at the email address registered with the court and (ii) electronically by email
 on co-counsel for Tagnetics, Inc., Stephen Stern, Esq. (Stern@kaganstern.com), Douglas Draper,
 Esq. (ddraper@hellerdraper.com) and Leslie Collins, Esq. (lcollins@hellerdraper.com), and (iii)
 by ordinary U.S. Mail as addressed to:

 Kenneth W Kayser                                   Stephen Stern, Esq.
 PO Box 115                                         Kagan Stern Marinello & Beard, LLC
 Catawba, VA 24070                                  238 West Street
                                                    Annapolis, Maryland 21401
 Ronald E. Early                                    Douglas S. Draper, Esq.
 6429 Winding Tree Drive                            Heller, Draper, Patrick, Horn
 New Carlisle, OH 45344                             650 Poydras Street, Suite 2500
                                                    New Orleans, LA 70130
 Jonathan Hager                                     Leslie A. Collins, Esq.
 842 Paint Bank Road                                Heller, Draper, Patrick, Horn
 Salem, VA 24153                                    650 Poydras Street, Suite 2500
                                                    New Orleans, LA 70130
                                                    Tagnetics, Inc.
                                                    3415 Route 36
                                                    Piqua, OH 45356

                                                        /s/ Robert R. Kracht
                                                        Robert R. Kracht (#0025574)




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